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U.S. Department of Justice

Antitrust Division

450 5th St., NW, Suite 7000
Washington, DC 20530

July 28, 2023

BY E-MAIL

Jeffrey Blum Mark Nelson

DISH Network T-Mobile USA, Inc.
Jeffrey. Blum@DISH.com Mark.Nelson@t-mobile.com

Re: — United States v. Deutsche Telekom, et al., No. 19-cv-2232 (D.D.C.)
Dear Mr. Blum and Mr. Nelson:

The Antitrust Division has carefully considered DISH’s and T-Mobile’s
respective positions on the interpretation of Section XVI.D of the Final Judgment. Upon
consideration of your positions, the Division declines to exercise any right it may have to
withhold its consent to T-Mobile’s termination of the License Purchase Agreement
according to the terms of that agreement.

That decision, however, is separate from whether an order modification might be
justified. The Division continues to have concerns that the divestiture of the 800 MHz
spectrum to DISH may be so important to DISH replacing the competition lost by T-
Mobile’s acquisition of Sprint that changed facts and circumstances may justify an order
modification.

The Division has already extended the time period provided for in Section IV.B of
the Final Judgment by the maximum 60 days provided, in order to allow the parties time
to resolve this dispute commercially. Any further extensions must come from the Court
via a motion to modify the judgment. At this time, the Division does not take a position
on the merits of any potential motion. If such a motion is filed, the Division will seriously
consider the potential consequences of any requested relief for DISH, T-Mobile, and the
public interest, but will afford no weight to consequences caused by T-Mobile’s
termination of the LPA before the Court has had the opportunity to rule on a motion.

Sincerely,

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Jared A. Hughes
Assistant Chief
Media Entertainment & Communications
Antitrust Division
Department of Justice

